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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                               Criminal Action No.
         v.
                                               1:21-CR-00143-ELR
   V ICTOR H ILL


                                  VERDICT

                                   Count One

As to Count One of the Indictment, we, the jury, unanimously find Victor Hill:

      ______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to R.P.?

      ______ Yes                  ______ No

                                  Count Two

As to Count Two of the Indictment, we, the jury, unanimously find Victor Hill:

   ______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to D.B.?

      ______ Yes                  ______ No
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                                   Count Three

As to Count Three of the Indictment, we, the jury, unanimously find Victor Hill:

   ______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to J.A.?

      ______ Yes                  ______ No




                                  Count Four

As to Count Four of the Indictment, we, the jury, unanimously find Victor Hill:

   ______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to C.H.?

      ______ Yes                  ______ No
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                                   Count Five

As to Count Five of the Indictment, we, the jury, unanimously find Victor Hill:

______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to J.H.?

      ______ Yes                  ______ No




                                   Count Six

As to Count Six of the Indictment, we, the jury, unanimously find Victor Hill:

   ______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to G.H.?

      ______ Yes                  ______ No
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                                  Count Seven

As to Count Seven of the Indictment, we, the jury, unanimously find Victor Hill:

   ______ Guilty               ______ Not Guilty

Only if “Guilty,” please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to W.T.?

      ______ Yes                  ______ No




   SO SAY WE ALL.

      Signed and dated at the United States Courthouse, Atlanta, Georgia, this
____ day of October, 2022.


   __________________________________
   Foreperson’s Signature


   __________________________________
   Foreperson’s Printed Name
